                        IN THE UNITED STATES DISTRICT COURT
                    FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                                CHARLOTTE DIVISION

                                       No. 3:05CR400-FDW


UNITED STATES OF AMERICA,
                Plaintiff,

               v.

(12) MICHAEL ROBERT KEARNS,
                  Defendant.
_________________________________


                            ORDER DIRECTING CLERK TO
                    DISTRIBUTE RESTITUTION PAYMENT TO VICTIMS

       A Consent Motion has been brought before this Court for an Order Directing Clerk to

Distribute Restitution Payment to Victims. As set forth in this Court’s September 17, 2008

Order (Dkt. 265), the funds, in excess of $435,000, that are the subject of the Motion represent a

partial restitution payment by Defendant Michael Kearns. The United States has advised this

Court that another $3,000 may have also been deposited by Defendant, with the Court, for

payment towards restitution. Having considered the Consent Motion and reviewed the

September 17, 2008 Order, this Court finds that all funds referenced herein, in the amount of

approximately $438,000, should be applied to restitution and distributed to victims as set forth in

the Judgment in a Criminal Case (Dkts. 330; 330-2) against Defendant.

       It is therefore ORDERED, ADJUDGED, AND DECREED that:

       1.      The Clerk of Court, as soon as the business of his office allows, shall distribute all

funds on deposit with the Clerk, including funds in the approximate amount of $438,000 and any

interest earned on such funds, to pay restitution to victims as set forth in the Judgment in a



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Criminal Case against Defendant.

         2.    The United States shall serve a copy of this Order upon the Financial Deputy

Clerk.

         IT IS SO ORDERED.

                                               Signed: July 13, 2009




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